                                  Case 23-20514-CLC                 Doc 1        Filed 12/20/23           Page 1 of 15


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bird Global, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  392 NE 191st Street
                                  #20388
                                  Miami, FL 33179
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                   Case 23-20514-CLC                    Doc 1         Filed 12/20/23              Page 2 of 15
Debtor    Bird Global, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4884

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                       Case 23-20514-CLC                      Doc 1      Filed 12/20/23             Page 3 of 15
Debtor    Bird Global, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                               25,001-50,000
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                             Case 23-20514-CLC               Doc 1       Filed 12/20/23          Page 4 of 15
Debtor   Bird Global, Inc.                                                            Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                  Case 23-20514-CLC                   Doc 1        Filed 12/20/23             Page 5 of 15
Debtor    Bird Global, Inc.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 19, 2023
                                                  MM / DD / YYYY


                              X /s/ Christopher Rankin                                                    Christopher Rankin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney     X /s/ Paul Steven Singerman                                                  Date December 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Steven Singerman 378860
                                 Printed name

                                 Berger Singerman LLP
                                 Firm name

                                 1450 Brickell Avenue
                                 Suite 1900
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      singerman@bergersingerman.com

                                 378860 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                            Case 23-20514-CLC              Doc 1      Filed 12/20/23         Page 6 of 15



                                              EXHIBIT 1 to Voluntary Petitions1


    Debtor Name                       EIN                   Date Filed           Case                District
                                                                                 Number
    Bird Global, Inc.                 XX-XXXXXXX              12/19/2023         Pending             U.S. Bankruptcy Court,
                                                                                                     Southern District of Florida
                                                                                                     (Miami Division)
    Bird Rides, Inc.                  XX-XXXXXXX              12/19/2023         Pending             U.S. Bankruptcy Court,
                                                                                                     Southern District of Florida
                                                                                                     (Miami Division)
    Bird US Holdco, LLC               XX-XXXXXXX              12/19/2023         Pending             U.S. Bankruptcy Court,
                                                                                                     Southern District of Florida
                                                                                                     (Miami Division)
    Bird US Opco, LLC                 XX-XXXXXXX              12/19/2023         Pending             U.S. Bankruptcy Court,
                                                                                                     Southern District of Florida
                                                                                                     (Miami Division)
    Skinny Labs, Inc.                 XX-XXXXXXX              12/19/2023         Pending             U.S. Bankruptcy Court,
                                                                                                     Southern District of Florida
                                                                                                     (Miami Division)




1
 For a detailed description of the relationship amongst the Debtors listed herein, please refer to the Declaration of Christopher Rankin in
Support of Chapter 11 Petitions and First Day Pleadings.
12651582-1
               Case 23-20514-CLC          Doc 1       Filed 12/20/23   Page 7 of 15




                                PROPOSED RESOLUTIONS
                            OF THE BOARD OF DIRECTORS OF
                                  BIRD GLOBAL, INC.

                                        December 18, 2023

       A special meeting of the Board of Directors (the “Board”) of Bird Global, Inc., a Delaware
corporation (the “Bird Global”), was held on Monday, December 18, 2023, beginning at 5:00 pm,
Eastern Time, pursuant to notice duly given.

I.     Company Financial Position; Potential Transactions

        WHEREAS, the Board has reviewed and considered the operational condition of Bird
Global and its subsidiaries (collectively, the “Companies” and each a “Company”) on the date
hereof, including the historical performance of the Companies, the assets of the Companies, the
current and long-term liabilities of the Companies, the liquidity of the Companies, the strategic
alternatives available to the Companies, and the impact of the foregoing on the business, creditors
and other parties in interest of the Companies;

        WHEREAS, the Board has received, reviewed and considered the recommendations of the
legal and financial advisors of the Companies as to the relative risks and benefits of pursuing a
reorganization under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the
“Bankruptcy Code”), and the Board has had an opportunity to consult with the legal and financial
advisors of the Companies and has considered each of the strategic alternatives available to the
Companies

        WHEREAS, the Board has received from certain creditors of the Companies a commitment
for debtor-in-possession financing on or about December 19, 2023, for (i) a senior secured super
priority debtor-in-possession financing credit facility, and (ii) a subordinated debtor-in-possession
loan, in each case to be made to the Sellers in the Bankruptcy Cases (collectively, the “DIP
Facility”), the Board has received and reviewed drafts of the credit agreement and other documents
relating to the DIP Facility (collectively, the “DIP Credit Agreements”, substantially in the form
attached as Exhibit A);

        WHEREAS, in connection with the Chapter 11 bankruptcy cases, the Board has received
and reviewed a draft, and considered entering into the that certain Asset Purchase Agreement, by
and among Bird Scooter Acquisition Corp., a corporation formed in Ontario, Canada (the
“Buyer”), and Bird Global and certain of its subsidiaries (collectively, the “Sellers”) (the “Asset
Purchase Agreement”, substantially in the form attached as Exhibit B), whereby the Sellers
propose to sell, transfer and assign to Buyer, and Buyer proposes to purchase, acquire and assume
from the Sellers, the Acquired Assets and Assumed Liabilities (as such terms are defined in the
Asset Purchase Agreement), and the Board agrees that the Sellers should obtain the benefits of the
Asset Purchase Agreement and desire that the Sellers enter into the Asset Purchase Agreement,
subject to any higher and better bids as may be submitted by other interested parties, if any, in
accordance with the bid and sale procedures as may be approved by the Bankruptcy Court with
jurisdiction over the bankruptcy cases the Companies intend to commence.

                                                  1


                                                                Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
               Case 23-20514-CLC          Doc 1       Filed 12/20/23   Page 8 of 15




     WHEREAS, in the business judgment of the Board, it is in the best interests of the
Companies, their creditors, employees, and other parties in interest that a petition be filed by each
Company seeking relief under the provisions of the Bankruptcy Code;

        WHEREAS, the Board desires that the Companies file or cause to be filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code (collectively, the “Petitions”) and the
following resolutions are adopted by this Written Consent;

        WHEREAS, the Board considered whether certain members of the Board (each a
“Director”) had a direct or indirect economic interest in parties to the DIP Facility or the Buyer
pursuant to the Asset Purchase Agreement and, upon determining that John Bitove, Antonio
Occhionero, Kevin Talbot, and Philip Ryan in (the “Interested Directors”) had such interests, it
was determined that the Interested Directors would abstain from voting on each resolution adopted
in respect of the DIP Facility and Asset Purchase Agreement; and

       WHEREAS, at a Special Meeting of the Board held on December 11, 2023, the Board
voted unanimously to (i) create a “Special Committee” pursuant to Section 4.1 of the Amended
and Restated Bylaws of the Company (the “Bylaws”), and (ii) the Special Committee was charged
with addressing, considering and determining issues and matters (including proposed transactions
and/or agreements) relating to the Company’s equity, debt, and other financing by parties,
including without limitation, any and all amendments, restatements, modifications, and
refinancings or replacements thereof (collectively with such other matters authorized by this
Charter or the Board from time to time, the “Potential Transactions”).

II.    Chapter 11 Cases

       IT IS THEREFORE RESOLVED, that the Board hereby approves the filing of Petitions
on behalf of the Companies in the United States Bankruptcy Court for the Southern District of
Florida (collectively, the “Chapter 11 Cases”); and it is further

        RESOLVED, that appropriate employees and consultants of the Companies are hereby
authorized, directed and empowered (i) to file the Petitions for the Companies, (ii) to commence
the Chapter 11 Cases, and (iii) to execute and deliver any and all documents and to perform any
and all such acts as are reasonable, advisable, expedient, convenient, proper and necessary to effect
any of the foregoing; and it is further

        RESOLVED, that the Board hereby authorizes the sole member of the Special Committee
(with full power of delegation) and / or the Chief Restructuring Officer of the Company and / or
the interim chief executive officer of the Companies (collectively, the “Authorized Officers”), and
each of them, acting alone or in any combination, on behalf of the Companies, to prepare, execute
and/or verify and to cause to be filed, and any other applicable officer, be and each hereby is
authorized to attest to, any and all documents required by, necessary or appropriate to, the filing
and administration of the Chapter 11 Cases, including but not limited to the Petitions, as well as
all other ancillary documents (including, but not limited to, petitions, schedules, statements, lists,
motions, applications, credit agreement(s) and other documents, objections, responses, affidavits,
declarations, complaints, pleadings, disclosure statements, plans of reorganization or liquidation



                                                  2


                                                                Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
               Case 23-20514-CLC         Doc 1       Filed 12/20/23   Page 9 of 15




and other papers or documents), including but not limited to, any amendments, modifications or
supplements thereto (collectively, the “Chapter 11 Documents”); and it is further

III.   Retention of Professionals

        RESOLVED, that the Board hereby approves and ratifies the employment by the
Companies of the law firm of Berger Singerman LLP (“Berger Singerman”), to represent the
Companies as their general bankruptcy counsel and to assist the Companies in carrying out their
duties under the Bankruptcy Code and all related matters, and to take any and all actions
appropriate to advance the Companies’ rights, including the preparation of pleadings and filings
in the Chapter 11 Cases; and in connection therewith, the Authorized Officers be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Companies to execute appropriate retention agreements with Berger
Singerman, pay appropriate retainers to Berger Singerman prior to and immediately upon the filing
of the Chapter 11 Cases, and to cause to be filed an appropriate application for authority to retain
the services of Berger Singerman; and it is further

        RESOLVED, that the Special Committee hereby reapproves and ratifies the employment
by the Companies of Teneo Capital LLC (the “Restructuring Advisor”), to provide the
restructuring and other services detailed therein to the Companies, all pursuant to the retention
agreement dated November 27, 2023, and in connection therewith, the Authorized Officers be and
each of them, acting alone or in any combination, hereby is, authorized, directed and empowered,
on behalf of and in the name of the Companies to execute appropriate retention agreements with
Restructuring Advisor, pay appropriate retainers to Restructuring Advisor prior to and
immediately upon the filing of the Chapter 11 Cases, and to cause to be filed an appropriate
application for authority to retain the services of Restructuring Advisor; and it is further

        RESOLVED, that the retention of Epiq Corporate Restructuring, LLC (the “Notice and
Claims Agent”) pursuant to the retention agreement having an effective date of December 7, 2023,
the payment of any retainers, and the approval of any matters related thereto, be and hereby are
ratified, adopted and approved in all respects as the acts and deeds of the Companies, and the
Authorized Officers, and each of them, hereby are authorized and directed to immediately upon
and after the filing of the Chapter 11 Cases, execute and cause to be filed an application for
authority to retain the Notice and Claims Agent as the Companies’ notice and claims agent; and it
is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Companies to employ any other individual and/or firm as professionals or consultants or financial
advisors to the Company as are deemed necessary to represent and assist the Companies in carrying
out their duties under the Bankruptcy Code, and in connection therewith, the Authorized Officers
acting alone or in any combination, hereby are, authorized, directed and empowered, on behalf of
and in the name of the Companies, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Chapter 11 Cases, and cause to be filed
an appropriate application for authority to retain the services of such firms; and is further



                                                 3


                                                               Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
              Case 23-20514-CLC           Doc 1    Filed 12/20/23      Page 10 of 15




IV.    Debtor-in Possession Financing

                RESOLVED (with the Interested Directors abstaining), that the Authorized
Officers be, and hereby are, authorized, directed, and empowered, on behalf of and in the name of
the Companies, (A) to obtain post-petition financing according to the terms negotiated by the
senior management of the Companies, including under debtor-in-possession credit facilities or
relating to the use of cash collateral, and (B) to secure the payment and performance of any post-
petition financing by (i) pledging or granting liens and mortgages on, or security interest in, all or
any portion of the Companies’ assets, including all or any portion of the issued and outstanding
capital stock, partnership interests, or membership interests of any subsidiaries of the Companies,
whether now owned or hereafter acquired, and (ii) entering into or causing to be entered into such
security agreements, pledge agreements, control agreements, intercreditor agreements, mortgages,
deeds of trust and other agreements as are necessary, appropriate, or desirable to effectuate the
intent of, or matters reasonably contemplated or implied by, this resolution in such form, covering
such collateral and having such other terms and conditions as are approved or deemed necessary,
appropriate or desirable by the Authorized Officer executing the same, the execution thereof by
such Authorized Officer to be conclusive evidence of such approval or determination; and it is
further

                RESOLVED (with the Interested Directors abstaining), that the form, terms, and
provisions of the DIP Facility, the DIP Credit Agreements, and each of the other DIP Facility
Documents (as defined below), including the final terms and provisions of the DIP Facility
Documents to be negotiated by the Special Committee, and the Companies’ incurrence and
performance of their obligations under the DIP Facility, the DIP Credit Agreements, and each of
the other DIP Facility Documents (as defined below), including any borrowings thereunder,
granting of liens on, or security interests in, all or any portion of the Companies’ assets as provided
therein, and the consummation of the transactions contemplated thereby, be, and hereby are, in all
respects authorized and approved; and further resolved, that each of the Authorized Officers be,
and hereby is, authorized and empowered to execute and deliver, and to cause the Companies to
incur and perform their respective obligations under the DIP Facility and the DIP Credit
Agreements and each of the agreements, documents, and instruments contemplated by any of the
foregoing or requested by the DIP Facility lenders in connection with any of the DIP Facility
(together with the DIP Credit Agreements, the “DIP Facility Documents”), in the name and on
behalf of the Companies under their seals or otherwise, substantially in the forms presented to the
Board, with such changes therein and modifications and amendments thereto as any Authorized
Officer may in his or her sole discretion approve, which approval shall be conclusively evidenced
by his or her execution thereof; and it is further

                 RESOLVED (with the Interested Directors abstaining), that each of the Authorized
Officers be, and hereby is, authorized and empowered to execute and deliver any amendments,
amendments and restatements, supplements, modifications, renewals, extensions, replacements,
consolidations, substitutions, and extensions of the DIP Facility and the DIP Facility Documents
that shall in their sole judgment be necessary, proper or advisable; and it is further

             RESOLVED (with the Interested Directors abstaining), that all acts and actions
taken by the Authorized Officers prior to the date hereof with respect to the transactions


                                                  4


                                                                 Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
              Case 23-20514-CLC          Doc 1    Filed 12/20/23      Page 11 of 15




contemplated by the DIP Credit Agreements and any of the other DIP Facility Documents be, and
hereby are, in all respects confirmed, approved, and ratified; and it is further

V.     Asset Purchase Agreement

        RESOLVED (with the Interested Directors abstaining), the Board finds and deems the
Asset Purchase Agreement and transactions contemplated thereby (the “Transaction”) to be fair
to, and desirable and in the best interests of, the Companies and hereby, as described further in the
resolutions that follow, authorize and approve in all respects the Asset Purchase Agreement, the
Transaction Documents, and the consummation of the Transaction, and it is further resolved, that
each of the Authorized Officers be, and hereby is, authorized and empowered to execute and
deliver, and to cause the applicable Companies to incur and perform their respective obligations
under the Asset Purchase Agreement and all documents related thereto and/or contemplated
thereby (collectively, the “Transaction Documents”), including the final terms and provisions of
the Transaction Documents to be negotiated by the Special Committee, subject to any higher and
better bids as may be submitted by other interested parties, if any, in accordance with the bid and
sale procedures as may be approved by the Bankruptcy Court with jurisdiction over the bankruptcy
cases the Companies intend to commence; and it is further

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendments and restatements, supplements,
modifications, schedules, exhibits, renewals, extensions, replacements, consolidations,
substitutions, and extensions of the Asset Purchase Agreement and the Transaction Documents
that shall in their sole judgment be necessary, proper or advisable; and it is further

        RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the Asset Purchase Agreement and any of
the other Transaction Documents be, and hereby are, in all respects confirmed, approved, and
ratified; and it is further

VI.    General Authorizations and Ratifications

        RESOLVED, that the Authorized Officers be, and each of them acting alone or in any
combination is, hereby authorized, directed and empowered from time to time in the name and on
behalf of the Companies, to (i) take such further actions and execute and deliver or cause to be
executed and delivered, where necessary or appropriate, file (or cause to be filed) with the
appropriate governmental authorities all such other certificates, instruments, guaranties, notices
and documents as may be required or as such Authorized Officer may deem necessary, advisable
or proper to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements and the like, (ii) perform
the obligations of the Companies under the Bankruptcy Code, the DIP Facility, the DIP Credit
Agreements, any other DIP Facility Documents, the Asset Purchase Agreement, and any other
Transaction Documents, with all such actions to be performed in such manner, and all such
certificates, instruments, guaranties, notices and documents to be executed and delivered in such
form, as the Authorized Officer performing or executing the same shall approve, and the
performance or execution thereof by such Authorized Officer shall be conclusive evidence of the
approval thereof by such officer and by the Companies, and (iii) incur and pay such fees, expenses

                                                 5


                                                                Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
              Case 23-20514-CLC          Doc 1    Filed 12/20/23      Page 12 of 15




and other amounts as in his, her or their judgment shall be necessary, proper or advisable in order
to fully carry out the intent and accomplish the purposes of each of the foregoing resolutions; and
it is further

        RESOLVED, that the Authorized Officers be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of each of the
Companies, to adopt resolutions and otherwise exercise the rights and powers of the Companies
as such Authorized Officer may deem necessary, appropriate or desirable; and that thereupon such
resolutions shall be deemed adopted as and for the resolutions of the applicable Companies; and it
is further

        RESOLVED, that all of the acts and transactions relating to matters contemplated by the
foregoing resolutions, which acts would have been approved by the foregoing resolutions except
that such actions were taken prior to the execution of these resolutions, are hereby in all respects,
confirmed, ratified and approved; and it is further

       RESOLVED, that these resolutions and actions shall be the actions of the Board, and the
Chief Executive Officer of Bird Global is hereby directed to place these resolutions with the
records of the proceedings of the Board and with the records of each Company.



                                Signature Page To Follow




                                                 6


                                                                Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
             Case 23-20514-CLC        Doc 1    Filed 12/20/23        Page 13 of 15




                                       *      *        *

        Upon execution of this Consent, the undersigned, which represents the members of the
Board of Directors attending the December 18, 2023 meeting, hereby direct that this Consent be
filed with the records of the Company.

                                                  Attending Board of Directors


                                                  John Ivan Bitove


                                                  Robert Komin


                                                  Antonio Occhionero


                                                  Harvey Tepner


                                                  Philip Ryan


                                                  Kevin Talbot




                                              7


                                                                Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
Case 23-20514-CLC   Doc 1   Filed 12/20/23      Page 14 of 15




            Exhibit A - DIP Credit Agreements




                            8


                                        Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
Case 23-20514-CLC   Doc 1    Filed 12/20/23   Page 15 of 15




           Exhibit B – Asset Purchase Agreement




                            9


                                         Doc ID: 852ec29d266fdc3ee9d4c9ac497e8024a78b37c9
